AFFIDAVIT OF
GREGORY GRANT

 
IN THE CHANCERY COURT OF TENNESSEE
FOR THE THIRTIETH JUDICIAL DISTRICT AT MEMPHIS

 

PATRICE JORDAN ROBINSON,

GREATER MEMPHIS DEMOCRATIC CLUB,
LATANYA BARBER THOMAS, and,
JOHNSON SAULSBERRY, III

Plaintiffs,
VS. DOCKET NO:

SHELBY COUNTY ELECTION COMMISSION
LINDA PHILLIPS, in her official capacity as
Administrator of the Shelby County Election
Commission, STEVE STAMSON, ANTHONY TATE,
MATT PRICE, BENNIE SMITH, AND

BRENT TAYLOR, in their official capacities as
Members of the Board of Commissioners of the

Shelby County Election Commission,

Defendants.

 

AFFIDAVIT OF GREGORY GRANT

 

1. My name is Gregory Grant, I am over the age of 18 years old, and | am a citizen and
resident of Memphis, Shelby County, Tennessee.

2. {am the Director of Field Operations for the Greater Memphis Democratic Club. The
Greater Memphis Democratic Club, is a political organization of citizens interested in
questions on the ballot, interested in presenting the purity of elections, and interested
in guarding against abuse of the elective franchise.

a Ih connection with the October 3, 2019 Election, the Greater Memphis Democratic
Club manages approximately sixty (60) campaign workers, hired to distribute

campaign materials for candidates running for some of the offices on the ballot in the
City of Memphis’ October 3, 2019 Municipal Election, in order to cover polling
locations where these candidates do not have campaign workers to distribute their
literature.

All of the campaign workers managed by the Greater Memphis Democratic Club are

African American citizens and residents of Shelby County Tennessee.

I have served in numerous roles, in hundreds of campaigns, at various times during
the last approximately 40 years, and I have also been a candidate for a political office,
all of which has occurred in Memphis, Shelby County, Tennessee.

During the approximate 40 years I have been involved during political campaigns in
Memphis, Shelby County, Tennessee, the Shelby County Election Commission has
never issued written rules, prior to August 15, 2019, stating that campaign workers
cannot enter buildings where polling places are located to use the restroom.
Campaign workers have always been required not to violate election laws while
inside the 100-foot zone, and while inside of buildings where elections are held. Last
year, was the first time I have ever known the Shelby County Election Commission to
issue an oral rule to this effect.

Based on my experience with my own political campaign, and my experience
working in hundreds of political campaigns, | am aware that candidates for political
office with fewer financial resources; candidates lacking the financial resources to
invest heavily in purchasing political advertisements prior to election day and during
early voting; and “grassroots” candidates, heavily rely upon, the dissemination of
their campaign literature by campaign workers at election locations. These campaign

workers distribute candidates’ platform information and/or educate voters of their

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candidacies, and/or provide information on important referendums while outside the

100-foot zone to the entrances of buildings where polling places are located.

Election Commission’s rule, to leave the premises to find a restroom.

Individuals are who hired and Managed by the Greater Memphis Democratic Clab
during the current election period to distribute candidates? }j terature at polling
locations, work from 11:00 am. until 7:00 p.m., every weekday and from 10:00 a.m.
until 4:00 p.m. on weekends during the early voting period, and 7:00 a.m. untj] 7:00
p.m. on Election Day,

Campaign workers hired and managed by the Shelby County Democratic Club attend
a meeting, held prior to the first day of early voting period, where they are instructed
that they must look for a Shelby County Election Commission mark off of the 100
foot zone at polling locations; that they are must not distribute a candidate’s materials
beyond this area: that they must bring a shirt to cover up any political messages
before entering a building to use the restroom; that they cannot carry signs, bumper
stickers, posters, or any literature advocating for or against any candidate or issue;
and they cannot engage in conversation with voters or interfere with the election
process in any way, when they enter a building where polling places are located to
use the rest room.

Campaign workers are also told that they will be terminated if they fail to adhere to

the above rules. However, I am not aware of any of campaign worker managed the
Greater Memphis Democratic Club, nor has the Shelby County Election Commission
ever notified me, that a campaign worker managed by the Greater Memphis
Democratic Club has violated the laws relating to the electoral process in Memphis,
Shelby County, Tennessee,

Some campaign workers hired and managed by the Greater Memphis Democratic
Club to work at polling locations, do not have transportation and, depending on the
location of the poiling place, it is difficult, and sometimes unsafe, for these campaign
workers to leave the premises where polling places are located in order to find a rest
toom. For instance, the closest alternative location near Mount Zion Baptist Church,
60 S. Parkway, Memphis, Tennessee, where campaign workers can walk to the
restroom is unsafe and unsanitary.

Based on my experience working with campaigns, the Shelby County Election
Commission’s rule that prohibits campaign workers from entering buildings where
polling places are located to use restrooms interferes with voting, because many
candidates lack the resources to advertise and many voters do not make a final
decision candidates and/or issues unti] they reach polling places and read the
literature provided by campaign workers, Hence, many candidates in Memphis
heavily rely on campaign workers to educate the public about their platform and their
candidacy at the polling place. Campaign workers who are required to leave the
premises to use the restroom will miss opportunities to educate voters on about the

candidates and their platforms, and important platform issues, since they are required

to leave the premises.
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it takes some campaign workers as long as 30 minutes, or longer, to walk to, use and
return from a restroom location away from the building where a polling place is
located, and a campaign worker may have to use the restroom two or more times per
day, depending on a num ber of factors,

On September 17, 2019, a letter was sent to the Shelby County Election Commission
on behalf of the Greater Memphis Democratic Club, informing the Commission that
the Greater Memphis Democratic Club intended to take further action if they did not
rescind the rule stating campaign workers are barred from buildings, which was

distributed to candidates on August 15, 2019 (See Attachment A >:

allowed to enter certain buildings where polling places are located to use the
tesiroom; however, campaign workers at other buildings where polling places are
located cannot enter the buildings to use the restroom. Al] of the buildings where
campaign workers are not allowed to use the restroom are in African American
polling precincts,

These buildings include Glenview Community Center, 1141 S. Barksdale, Memphis,
Tennessee, and Greater Middle Baptist Church, 4982 Knight Arnold Rd, Memphis,
Tennessee. Johnson Saulsberry, Il, one of the campaign workers managed by the
Greater Memphis Democratic Club, is disabled, and he is assigned to work at these
two polling locations.

I believe the Shelby County Election Commission’s rule wil] adversely impact the

distribution of campaign materials on election day in African American
neighborhoods and wil] infringe upon the electoral process on election day, unless

  

immediately rescinded,
In witness whereof, I have hereunto Subscribed my name on this BF ay of eps 2019,
STATE OF TENNESSEE
COUNTY OF SHELBY

SWORN TO AND SUBSCRIBED BEFORE ME THIS AS. day of Sept Fexth222019

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www.nettlesharrislaw com

 

September 17, 2019

Ms. Linda Phillips

Administrator of Elections

Shelby County Election Commission
157 Poplar Avenue, Suite 137
Memphis, TN 38103

Re: Shelby County Election Commission’s New Campaign Workers’ Rule

Dear Ms. Phillips: |

places; or otherwise interferes with the orderly conduct of elections in Memphis, Shelby County,
Tennessee, when they use the toilet inside building facilities housing polling places.

To the contrary, campaign workers who use the toilet jn buildings that house polling places do
not enter the “polling places,” do not carry signs, bumper stickers, posters, literature, do not
display any article of clothing that advocates for or against any candidate or issue, do not
circulate petitions or engage in similar activity and do not speak to or engage with voters inside
the polling place, or within 100 feet of the polling place, in any way whatsoever while using the
toilet.

More importantly, voters have a right to be provided with educational information on issues and
candidates before entering polling places to cast their votes, Campaign workers provide voters

pimchment 6 — Grant Ace. tf

 
that campaign workers “have to find somewhere else to use the bathroom” as arbitrary and
capricious because it reverses a decades-old, long-standing practice in Memphis, Shelby County.
Tennessee without sound reasoning and without proper consideration of the fact that “holding it
in” until a person can “find somewhere use to use the bathroom” can lead to adverse health
Consequences such as urinary tract infections, bladder damage, humiliation, mental distress when
& person just can’t hold it in any longer while they look to “find somewhere else to use the
bathroom,” and is an affront to dignity.

Using the bathroom is something everyone must do, just like one must breath and eat and
sleep. It 1s unhealthy to “hold it in” until one can “find somewhere else to use the
bathroom. The Shelby County Election Commission has exceeded its authority by imposing

to take further action.

Respectfully,
ode elleflni

: Linda Nettles Harris, Esquire

ce: Mr. Steve Stamson, Chairman, Shelby County Election Commission Board
Mr. Anthony Tate, Secretary, Shelby County Election Commission Board
Mr. Matt Price, Member, Shelby County Election Commission Board
Mr. Bennie Smith, Jr., Member, Shelby County Election Commission Board
Mr. Brent Taylor, Member, Shelby County Election Commission Board
Shelby County Legislative Delegation
Candidates for Office Memphis, Tennessee 2019 Municipal Races

 
 

  

Shelby County Election C

September 20, 2019

ommission

Steve Stamson
Chairman

Anthony Tate

Linda Nettles Harris
Nettles Harris Law Firm
1331 Union Avenue, suite 1033

Memphis, TN 38103 Mane

Re: Letter of September 17, 2019 "Fee F

Dear Ms. Nettles Harris, boc hionn ;
Mministrator

Thank you for your letter dated September 17, 2019 concerning campaign worker's bathroom
us¢ at polling places. This policy has been in place since Coordinator of Elections Mark Goins
became the coordinator in 2009. The rule stems from T.C.A. § 2-7-103 which Clearly describes
the persons allowed to enter a polling place. Campaign workers are not among those on the fist

of authorized persons. We have checked with the Coordinator's office to confirm that this is the
policy for all Counties in Tennessec.

In addition to the Statute, the policy stems from a 2008 decision of the Tennessee Democratic
Executive Committee in the Barnes v. Kurita case. In that case, Ms. Kurita and her campaign
manager allegedly violated the 100-foot boundary rule to speak with voters and make attempts
fo Influence voters inside a polling place. The excuse given was that they needed to use the
bathroom. The result of those violations was that the Democratic Executive Committee declared
the results of the primary between Ms. Kurita and Mr. Barnes “incurably uncertain” and set aside

the results of that race. In order to prevent similar abuses, the Coordinator of Elections
implemented this policy.

Due to a recent change in T.C.A. 2-7-1141, Election Commissions across the state designate
enirances to be used by voters for the 100-foot boundary rule. Other entrances may be used
for bathroom; however, this is within the control of building owners and not within the Sheiby
County Election Commission. Use of alternate entrances may be permissible so long as
campaign workers do not bring in any campaign buttons, stickers, shirts or campaign
paraphernalia into the building and also avoid walking past voters and the voting areas inside
the buildings. In cases where polling places do not have multiple entrances, the policy remains
in effect and campaign workers should find alternate accommodations like service stations or
public buildings.

Sincerely,
Awok PLLA.
Linda Phillips

Administrator of Elections
157 Poplar Avenue, Suite 137*Memphis, TN 38103-1948

980 Nixon Drive* Memphis, TN 38134-7966
Phone: 901.222.1200 *Fax: 901.222.6811 *ShelbyVote.com

fitrach ment 5 cf feet ARE ro A a

Matthew Price
Bennie Smith, Jr.
Eariy Voting Location

Location

Abundant Grace

Agri-Center

Annointed Temple of Praise

Bellevue Baptist

Bellevue Frayser

Berclair Church

Dave Wells Community Center

Glenview Community Center

Greater Lewis Baptist Church

Designated Door

The entrance to the Gymnasium; immediately to the west
of the entrance to the Sanctuary.

The glass doors on the South side of Haley Harvest Drive,

immediately adjacent to the area used.

Both doors on the west side of the Fellowship Building.

Door closest to the room used for voting.

Entrance on the east side of the Education Building.

The door to the Education building.

Main Entrance

Main Entrance

Main Entrance
Comments

The Sanctuary doors are locked; unknown
if there are other doors. Probably have to
find another building.

Have to find another building.

Have to find another building.

lf other doors are unlocked and building
owner gives permission, then OK.

The voting entrance is widelly separated
from the Main Entrance. Do not know if
other doors are unlocked.

Have to find another building.

Have to find another building.

Have to find another building.

Have to find another building.
; The ahs
Greater Middle Baptist Church Falwenie he een Putiding that lead into

The door that faces Texes Street betw
Mt. Zion Baptist Church and the Education wing. eet between the Sanctuary

Doors on the lower level that enter immediately into
Raleigh United Methocliet Church Fellowship Hall

Riverside Baptist Church Doors on west side of the gymnasium.

 

Shelby County Election Commission Doors on Poplar and 2nd Street

Second Baptist Church Doors leading into the Gymnasium

Front and hack doore to the weet of the main entrance to
Solomon Temple MB Church the Sanctuary.

Entrance on the east side of the main building from the
White Station Church of Christ parking lot.
 

Have to find another building.

If the main door is unlocked and there is a
set of restrooms before you get to the
Education wing, then OK if the building
ower gives permission. Otherwise, have to
find another building.

If the front door are open and the building
owner gives permission, then OK but since
it is up a hill, it is probably closer to find
another building.

Have to find another building.

Have to find another building; 150
Washington is close.

Have to find another building.

Have to find another building; these are

the only doors that are unlocked.

Have to find another building.
